                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                              DOCKET NO. 3:11CR190-MOC-DSC

UNITED STATES OF AMERICA,                      )
                     Plaintiff,                )
                                               )                      ORDER
                  v.                           )
                                               )
BONNIE KNIGHT BRIDGES,                         )
                    Defendant.                 )
                                               )
                                               )

       THIS MATTER is before the Court on the Government’s Motion to forfeit the sum of

$12,500 as a substitute res and to amend the Preliminary Order of Forfeiture entered on October

15, 2012, by deleting the subject real property, by consent of the parties.

       Based on the record and the stipulations of the parties, the Court finds the following:

         1. Defendant Bonnie Knight Bridges (“defendant”) pled guilty in this case and consented
to forfeiture of assets including real property located at 114 Rustic Hills Circle, Bessemer City,
North Carolina (“the property”). The property is subject to forfeiture because it was used to
facilitate the charged conspiracy as a location for receipt of stolen items during the period of the
conspiracy, between 2006 and March of 2011, as alleged in the Bill of Information. Defendant
conveyed the property to Terry Bridges on or about August 5, 2009.

       2. On October 15, 2012, pursuant to Defendant’s consent, the Court entered a
Preliminary Order of Forfeiture including the property. (Doc. 95.)

       3. On January 26, 2013, Terry Bridges filed a timely Petition herein. (Doc. 132.)

        4. On April 10, 2013, Sharonview filed a timely Petition herein, asserting a security
interest in the property based on a deed of trust recorded on or about September 17, 2012. (Doc.
157.)

       5. The parties have agreed to a settlement of both of these Petitions by payment of the
sum of $12,500 to be forfeited as a substitute res for the property. A check for $12,500 has been
tendered to the Government, and the funds are now in custody of the United States Secret
Service. The funds should therefore be forfeited and the Preliminary Order amended to delete the
property.




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        6. Petitioners have stipulated as follows: Terry Bridges and Sharonview hereby release
and forever discharge the United States, its agents, servants and employees, its successors or
assigns, and all state or local governmental entities or law enforcement agencies in North
Carolina and their agents, servants and employees, their heirs, successors, or assigns, from any
and all actions, causes of action, suits, proceedings, debts, dues, contracts, judgments, damages,
claims, and/or demands whatsoever in law or equity which Petitioners or their heirs, successors,
or assigns ever had, now have, or may have in the future in connection with this investigation,
prosecution, and forfeiture.

       Based on the foregoing findings, IT IS THEREFORE ORDERED:

       1. The foregoing stipulations and agreements of the parties are made a part of this Order.

       2. The sum of $12,500.00 is hereby forfeited as a substitute res for the property.

        3. The Preliminary Order entered on October 15, 2012, (Doc. 95), is hereby amended to
delete the subject real property located at 114 Rustic Hills Circle, Bessemer City, North
Carolina.


       SO ORDERED.                          Signed: October 15, 2013




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